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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION



  In re Lakeview Loan Servicing Data Breach        Case No. 1:22-cv-20955-DPG
  Litigation
                                                   NOTICE OF VOLUNTARY DISMISSAL
                                                   WITHOUT PREJUDICE




         Plaintiffs Cathryne Fera, Derek Crenshaw, Judith Cefaly, Julia Franke, Kristine Milewski,

  and Emily Holt hereby provide notice that their individual claims in the above-captioned case shall

  be voluntarily dismissed, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). This notice

  of dismissal shall not affect the claims of any other Plaintiffs or putative class members in this

  action, as no class has been certified.

         As of the date of filing this Notice of Voluntary Dismissal Defendants Lakeview Loan

  Servicing, LLC, Pingora Loan Servicing, LLC, Bayview Asset Management LLC, and

  Community Loan Servicing, LLC have not filed or served an Answer or a Motion for Summary

  Judgment.

  Date: May 5, 2023

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                                  CERTIFICATE OF SERVICE

  The undersigned hereby certifies that on May 5, 2023, the foregoing was electronically filed with

  the Clerk of the Court using CM/ECF system which will send a notice of electronic filing to all

  counsel of record.



                                                      Respectfully Submitted,


                                                      /s/ Julie Braman Kane

                                                      JULIE BRAMAN KANE




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